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                        IN THE LINITEDSTATESDISTRICTCOURT
                            NORTHERNDISTRICTOF TEXAS
                                   DALLAS DIVISION

UNITED STATESOF AMERICA                        $
                                               $
VS,                                            $
                                               $          NO.3-92-CR-238-G(07)
DONEL MARCUSCLARK                              $
                                               $
              Defendant.                       $


                     FINDINGS AND RECOMMENDATION OF THE
                        UNITED STATESMAGISTRATE JUDGE

       DefendantDonelMarcusClark,a federalprisoner,hasfiled a motionto proceedinforma

                    with theappealof theJuly3, 2008orderdenyinghis motionfor a sentence
pauperisin connection

                                               statedherein,themotionshouldbedenied.
reductionunder18U.S.C.$ 3582(c)(2).Forthereasons

                   governinginformapauperismotionsaresetforth in 28 U.S.C.$ 1915(a).
       The standards

Underthis statute:

              [A]ny court of the United Statesmay authorizethecommencement,
              prosecution or defenseof any suit, action or proceeding,civil or
              criminal, or appeal therein, without prepayment of fees or security
              therefor, by a person who submits an affidavit that includes a
              statementof all assetssuch prisoner possessesthat the person is
              unable to pay such fees or give security therefor.

28 U.S.C. $ 1915(aXl). The court must examinethe financial condition of the applicantto

determine whether the payment of fees would causean undue financial hardship. See Prows v.

Kastner,842 F.2d 138, 140 (5th Cir.), cert. denied, 109 S.Ct. 364 (1988). In making that

determination,the amount of money availableto an inmate in his prison trust accountor from other

sourcesshouldbe considered.Seeid,; Brodenv. Estelle,428F.Supp.595, 601 (S.D. Tex. 1977).
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       An accountsummaryprovided by defendantin supportof his motion showsthat he currently

has $2,010.63on depositin his inmatetrust account. During the past six months,the averagedaily

balanceof the accountwas $1,992.86.The filing fee for an appealis $455.00. See28 U.S.C. $$

                                                                       he has no living
1913,Misc. Fee Sch.& l9l7;5th Cir. LR 3. Becausedefendantis incarcerated,

expenses. The court therefore determinesthat defendantis able to pay the appellatefiling fee

without causing undue financial hardship.

                                  RB,COMMENDATION

       Defendant'smotion to proceedin forma pauperis on appeal[Doc. #91] should be denied.

       A copy of this report and recommendationshall be servedon all parties in the manner

provided by law. Any parfy may file written objectionsto the recommendationwithin l0 daysafter

being servedwith a copy. See28 U.S.C. $ 636(bxl); Feo. R. Ctv. P. 72(b). The failure to file

written objections will bar the aggrieved party from appealing the factual findings and legal

conclusionsof the magistratejudge that are acceptedor adoptedby the district court, exceptupon

                                                                      1417(5th
groundsofplaineffor.SeeDouglassv.(JnitedServicesAutomobileAss'n,79F.3d1415,

Cir. 1996).

       DATED: August        2008.


                                                   LAN
                                                  STATESMAGISTRATEJUDCE
